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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT O NO cy ] f

EASTERN DIVISION - k p= iT >

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Angele Shippert MAR 04 2025
. CLERI Holts ie TRICT. COURT
Plaintiff(s),
VS. CaseNo. — 0» 64

[LLINO\S STATE BoARD
OF EDUCATION

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Defendant(s).

COMPLAINT FOR VIOLATION OF CONSTITUTIONAL RIGHTS

This form complaint is designed to help you, as a pro se plaintiff, state your case in a clear
manner. Please read the directions and the numbered paragraphs carefully. Some paragraphs
may not apply to you. You may cross out paragraphs that do not apply to you. All references
to “plaintiff” and “defendant” are stated in the singular but will apply to more than one
plaintiff or defendant if that is the nature of the case.

1. This is a claim for violation of plaintiff's civil rights as protected by the Constitution and
laws of the United States under 42 U.S.C. §§ 1983, 1985, and 1986.

2. The court has jurisdiction under 28 U.S.C. §§ 1343 and 1367.

3. Plaintiff’s full name is Finacla Damelle Shippert

If there are additional plaintiffs, fill in the above information as to the first-named plaintiff
and complete the information for each additional plaintiff on an extra sheet.

[If you need additional space for ANY section, please attach an additional sheet and reference that section.]
[If you need additional space for ANY section, please attach an additional sheet and reference that section,]

Defendant, LInaiS Stafé Boord ob Ed VeadIOn , is

(name, badge number if known)

‘Een officer or official employed by

(department or agency of government)
“or

Can individual not employed by a governmental entity.

If there are additional defendants, fill in the above information as to the first-named
defendant and complete the information for each additional defendant on an extra sheet.

5.

The municipality, township or county under whose authority defendant officer or official

acted is . As to plaintiffs federal

constitutional claims, the municipality, township or county is a defendant only if

custom or policy allegations are made at paragraph 7 below.

On or about , at approximately Olam. p.m.
(month,day, year)
plaintiff was present in the municipality (or unincorporated area) of

, in the County of ‘

State of Illinois, at ,
(identify location as precisely as possible)

when defendant violated plaintiff's civil rights as follows (Place X in each box that
applies):

arrested or seized plaintiff without probable cause to believe that plaintiff had
committed, was committing or was about to commit a crime;

searched plaintiff or his property without a warrant and without reasonable cause;
used excessive force upon plaintiff

failed to intervene to protect plaintiff from violation of plaintiffs civil rights by
one or more other defendants; ,

failed to provide plaintiff with needed medical care;

conspired together to violate one or more of plaintiff's civil rights;

Other:

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[If you need additional space for ANY section, please attach an additional sheet and reference that section.]

Defendant officer or official acted pursuant to a custom or policy of defendant
municipality, county or township, which custom or policy is the following: (Leave blank

if no custom or policy is alleged):

Plaintiff was charged with one or more crimes, specifically:

See aktached

(Place an X in the box that applies. If none applies, you may describe the criminal
proceedings under “Other”) The criminal proceedings

O are still pending.
(1 were terminated in favor of plaintiff in a manner indicating plaintiff was innocent.'
O Plaintiff was found guilty of one or more charges because defendant deprived me of a

fair trial as follows

{0 Other: Ser oracwed

‘Examples of termination in favor of the plaintiff in a manner indicating plaintiff was innocent

may include a judgment of not guilty, reversal of a conviction on direct appeal, expungement of the
conviction, a voluntary dismissal (SOL) by the prosecutor, or a nolle prosequi order.

3

[If you need additional space for ANY section, please attach an additional sheet and reference that section.]
11.

12.

13.

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[If you need additional space for ANY section, please attach an additional sheet and reference that section.)

10. Plaintiff further alleges as follows: (Describe what happened that you believe
supports your claims. To the extent possible, be specific as to your own actions and
the actions of each defendant.)

See, Attached

p
b

Defendant acted knowingly, intentionally, willfully and maliciously.

As aresult of defendant’s conduct, plaintiff was injured as follows:

See tached

Plaintiff asks that the case be tried by ajury. UO Yes MLNo ©

[If you need additional space for ANY section, please attach an additional sheet and reference that section.]
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[If you need additional space for ANY section, please attach an additional sheet and reference that section.]

14. Plaintiff also claims violation of rights that may be protected by the laws of Illinois, such
as false arrest, assault, battery, false imprisonment, malicious prosecution, conspiracy,

and/or any other claim that may be supported by the allegations of this complaint.

WHEREFORE, plaintiff asks for the following relief:

A. Damages to compensate for all bodily harm, emotional harm, pain and suffering,
loss of income, loss of enjoyment of life, property damage and any other injuries
inflicted by defendant;

B. i (Place X in box if you are seeking punitive damages.) Punitive damages
against the individual defendant; and

C. Such injunctive, declaratory, or other relief as may be appropriate, including

attorney’s fees and reasonable expenses as authorized by 42 U.S.C. § 1988,

Plaintiff’s signature: ( uf

Plaintiffs name (print clearly or type): A na ela Shi ppert
Plaintiffs mailing address: 1G Shik Lovle 2b

city ikon State -LL ze  blo2l
Plaintiffs telephone number: (41 ) FHHo -34 HO

Plaintiffs email address (if you prefer to be contacted by email):

Ongla ShippertQ oma. |. om

15. Plaintiff has previously filed a case in this district. O1 Yes BUNo

If yes, please list the cases below.

Any additional plaintiffs must sign the complaint and provide the same information as the first
plaintiff. An additional signature page may be added.

5

[If you need additional space for ANY section, please attach an additional sheet and reference that section.]
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IN THE UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF ILLINOIS ROCKFORD
DIVISION

Angela Shippert, Plaintiff, v. ILLINOIS STATE BOARD OF EDUCATION, Defendant.

Case No.:

COMPLAINT FOR INJUNCTIVE RELIEF AND DECLARATORY JUDGMENT

Plaintiff, Angela Shippert, proceeding pro se, hereby files this Complaint for Injunctive Relief and
Declaratory Judgment against the Illinois State Board of Education (ISBE), and alleges as follows:

|. JURISDICTION AND VENUE

1. This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331, as this case arises
under the Constitution of the United States and involves the enforcement of federal law.

2. Venue is proper in this district under 28 U.S.C. § 1391 because Plaintiff resides in this
district and the actions giving rise to the claims occurred in this district. The ISBE is located
within the district and has a significant impact on education in the area.

Il. PARTIES

3. Plaintiff: Angela Shippert, a taxpayer residing in the Northern District of Illinois, challenges
the actions of the Illinois State Board of Education in continuing to enforce Diversity, Equity,
and Inclusion (DEI) programs in Illinois schools despite the directives of Executive Order
14151, which mandates the termination of such programs in schools receiving federal
funding.

4. Defendant: The Illinois State Board of Education (ISBE), a state agency responsible for
overseeing public education in Illinois, is named as the defendant in this action. The ISBE
has refused to comply with Executive Order 14151, which calls for the termination of DEI
programs, policies, and positions in schools receiving federal funding.

Ill. FACTUAL ALLEGATIONS

5. On January 20, 2025, President Donald Trump issued Executive Order 14151, directing the
termination of all diversity, equity, and inclusion (DEI) programs, policies, and mandates in
federal agencies and in federally funded schools, including K-12 institutions.

6. The U.S. Department of Education sent a "Dear Colleague" letter to the Illinois State Board
of Education earlier in January 2025, reminding the ISBE of its obligations under federal law.

7. Despite these federal mandates, Tony Sanders, the State Superintendent of the Illinois State
Board of Education, has publicly stated that the ISBE will not cease DEI programs.

8. Sanders acknowledged that the federal government could potentially withdraw up to 10% of
funding from Illinois school districts if the state does not comply with federal requirements.
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9. Plaintiff, as a taxpayer, has been directly affected by ISBE’s refusal to comply with federal
mandates.

IV. CLAIMS FOR RELIEF

Count 1- Violation of the Supremacy Clause of the United States Constitution 10. The refusal of the
Illinois State Board of Education to comply with Executive Order 14151 constitutes a direct violation
of the Supremacy Clause (Article VI, Clause 2) of the United States Constitution.

Count II - Violation of the First Amendment Rights of Students 11. The Illinois State Board of
Education’s DEI programs, rooted in Critical Race Theory, compel students to adopt specific
ideological beliefs about race and justice, thereby infringing upon their First Amendment rights.

Count Ill — Violation of Title VI of the Civil Rights Act of 1964 12. By continuing to fund and promote
DEI programs that preference certain racial groups, the Illinois State Board of Education is violating
Title VI of the Civil Rights Act of 1964.

Count IV - Violation of the Worker Freedom of Speech Act 13. The Illinois State Board of Education’s
enforcement of DEI policies violates the Worker Freedom of Speech Act, which was put into effect
on January 1, 2025, and protects employees and students from mandatory participation in
employer-sponsored ideological programs.

V. PRAYER FOR RELIEF
WHEREFORE, Plaintiff respectfully requests that this Court:

1. Issue a declaratory judgment that the actions of the Illinois State Board of Education in
continuing DEI programs in violation of Executive Order 14151 are unlawful.

2. Granta permanent injunction compelling the Illinois State Board of Education to cease all
DEI programs.

3. Order the Illinois State Board of Education to submit a compliance report within 30 days.
4. Award Plaintiff their costs of suit, and any other relief deemed just and proper.

Dated: February 28, 2025

Respectfully submitted,

Angela Shippert 1531 IL Route 26, Dixon, IL Phone: 641-750-3450 Email:
angela.shippert@gmail.com
